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Provided executive leadership, management, direction and delivery of marketing, branding, strategic and crisis
communication to protect the institution’s reputation and tell its story to all stakeholder groups. Major accomplishments
include:
     §   Created overarching College integrated marketing and strategic communication plan
     §   Development of overarching College brand clarification and subsequent campaigns
     §   Successful resolution of racially motivated Zoom-bombing incident (with outside PR firm)
     §   Management three privileged and confidential incidents
     §   Management of on- and off-campus events including convocation and commencement

University of Montana, Missoula, Montana
Vice President, Enrollment Management and Strategic Communication
2018 to 2020
Provided executive leadership, management and delivery of effective and efficient enrollment support services at a large,
multi-campus public research university. Developed and managed strategic communication plan (along with integrated
marketing and branding) to successfully tell the university’s story to all stakeholder groups.
     §    Reporting units include admissions (graduate, international and undergraduate); Broadcast Media Center;
          enrollment marketing and communication; financial aid; data analytics, systems and technology; news services;
          Student Enrollment Communication Center; trademarks and licensing; University Communications; University
          Marketing; and Welcome Center, all with more than 150 employees, a $5M operating budget, a $173M financial
          aid portfolio and $500,000 in strategic funding for new initiatives.
     §    Major accomplishments include:
         §    Re-engineered undergraduate admissions, evaluation, financial aid, transfer services and alumni relations to
              function as a single collaborative team to provide quality care and excellent service to students and facilitate
              cross-training and knowledge transfer among staff for operational efficiency and sustained growth.
         §    Brought online a Student Enrollment Communication Center to augment recruitment and outreach efforts
              through inbound and outbound calling, texting and chatting with prospective and current students and
              increased yield by 10 percent
         §    Managed pre- and post-go-live development of Montana University System’s in-state application — which led
              to 10 percent increase in overall applications to MUS schools
         §    Pioneered new admissions-alumni model in which both admissions and alumni teams housed in new Welcome
              Center, which resulted in a 12-percent rise in visit yield, a 200-percent increase in alumni chapter development
              and a 7-percent increase in alumni giving
         §    Introduced, implemented and maximized net tuition leveraging strategies to increase enrollment by 1.9 percent
              and retention by 3 percent for three consecutive semesters
         §    Created national award-winning student orientation program to provide multiple on-ramps, engagement and
              learning opportunities increasing participation in program by nearly 50 percent, but also increased retention by
              3 percent each three consecutive semesters
         §    Spearheaded university-wide brand clarification project, which resulted in 4,000 percent increase in
              engagement across new communication channels for university, enrollment management and marketing

University of North Florida, Jacksonville, Florida
Assistant Vice President, Enrollment Services and Director, Integrated Marketing and Strategic Communications
2010 to 2018
Oversight of Enrollment Services Marketing and Communication, Commencement, New Student Orientation, One-Stop
Student Services, Student Enrollment Communication Center, Texting Talons and Welcome Center — 26 direct reports and
staff of 75 (150 with students)
          §    Created and implemented all new enrollment management processes, procedures and policies, along with new
               communications and marketing that has — to date — made UNF one of the fastest-growing universities in U.S.
               with (in the past five years):
                    o 70 percent growth in graduation rates
                    o 73 percent growth in the freshman class
                    o 163 percent growth in traditionally underrepresented first-year students (247 percent Black)
                             — The combination of all three is virtually unheard of!
          §    Developed a program-centric marketing and communication plan to recruit prospective students for 52
               academic programs — which led to a 25 percent increase in enrollment in 2016 and 36 percent in 2017
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        §    Created marketing and communication plan for National Survey of Student Engagement (NSSE) that garnered a
             46.3 percent campus response rate; the national response rate is 29 percent

Middle Tennessee State University, Murfreesboro, Tennessee
Associate Director of Admissions, 2009-2010
         §   Implemented university-wide enrollment marketing and communication plan, resulting in 10 percent growth
         §   Planned and executed state-wide recruiting trips for university president, executives, academic officers and
             departments with a 25 percent increase attendance of prospective students and families
Editor/Marketing Coordinator, 2006 to 2009

Eastern Michigan University, Ypsilanti, Michigan
Director, Major Events, Marketing and Trademark Licensing, 2003 to 2006
Director, Special Events, 2001 to 2003
Director, Student Media, 1998 to 2001

Target Information Services, Milan, Michigan
Managing Editor, 1997 to 1998

Mortgage Investors Corp., St. Petersburg, Florida
Director, Public Relations/Corporate Communications, 1995 to 1997

Wichita State University, Wichita, Kansas
Associate Director of Admissions, 1993 to 1995

South Florida Newspaper Network, Deerfield Beach, Florida
Newspaper Editor, 1992 to 1993

Miami Herald, Miami, Florida
Sportswriter, 1991 to 1992

Hollywood Sun, Hollywood, Florida
General Assignment Reporter, 1990

A W A R D S/H O N O R S
NODA Award for Innovative Orientation Programming, 2020
Presidential Excellence Award, first place, UNF, 2016
LGBT Ally Award, Faculty and Staff, UNF, 2016
CASE First Place Award, Outstanding Marketing Campaign, 2009, 2010
PRSA First Place Award, Outstanding Public Relations Campaign, 2008-10
Outstanding Contributions Award, University Ambassadors, 2001-06
Recognition of Excellence Award, EMU Student Media, 2001
ACP/CMA Pacemaker Award, 1998-2001
Significant Educator Award, Kalamazoo School District, 1998
Florida Press Association News Award, 1992-94
Florida Press Association Design Award, 1991

PROFESSIONAL ORGANIZATIONS
American Marketing Association, 2015-
Convention Industry Council, 2004–2006
Council for the Advancement and Support of Education, 1998–
Public Relations Society of America, 2004–
University and College Designers Association, 2006–
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Assistant Professor                                                              1993-1996
University of Wisconsin, Eau Claire
Department of Social Work

Client Services Manager                                                          1992-1993
Community Action Agency of Yamhill County
McMinnville, Oregon

Behavior Specialist/Group Facilitator                                            1992-1993
Kaiser Permanente (Health Education Program)
Portland, Oregon

Social Worker/Bereavement Coordinator                                            1990-1993
Health Dynamics Hospice Program
McMinnville, Oregon

Lecturer                                                                         1987-1988
University of California at Berkeley
Fall Freshman Program


PUBLICATIONS

Book Chapters
Sontag Bowman, M. & Jolango, M. (2021). Smoothing Transitions to College Life: Research
Evidence of Dogs’ Effects on Humans. In Jalongo, M. (Ed.), The Canine-Campus Connection: Roles for
Service, Therapy and Shelter Dogs in the Lives of College Students (pp. 31-56). Purdue University Press.

Jolango M., & Sontag Bowman, M. (2019). Exploring themes of relinquishment and loss. In Jalongo,
M. (Ed.), Prison Dog Programs: Renewal and Rehabilitation in Correctional Facilities (pp. 233-43).
SpringerNature.

Sontag Bowman, M. (2018). Final gifts. Lessons children can learn from dogs about end-of-life, loss,
and grief. In Jalongo, M. (Ed.), Children, Dogs and Education: Caring for, Learning Alongside, and Gaining
Support from Canine Companions (pp. 131-149). SpringerNature.


Peer-Reviewed Journal Articles

Sheetz, J. & Sontag Bowman, M. (2013). Parents’ perceptions of a pediatric palliative care program.
The American Journal of Hospice and Palliative Medicine, 30(3): 291-296.

Sheetz, J. & Sontag Bowman, M. (2008). Pediatric palliative care: An assessment of physicians’
confidence in skills, desire for training and willingness to refer for end-of-life care. The American
Journal of Hospice and Palliative Medicine, 25(2): 100-105.
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Reese, D. & Sontag, M. (2001). Successful interprofessional collaboration on the hospice team.
Health & Social Work, 26(3): 167-175.

Graham, M. & Sontag, M. (2001). Art as an evaluative tool: A pilot study. Art Therapy, 18(1): 37-43.

Williams, S., Butler, C. & Sontag, M. (1999). Perceptions of senior veterinary students about
emotional support of clients in veterinary practice and in veterinary college curriculum. The Journal
of the American Veterinary Medical Association, 215(10): 1428-32.

Sontag, M. (1996). The reality of hospices as providers of total care in one western state.
The Hospice Journal, 11(3):71-94.

Michaud, S., Sontag, M. & Smiar, N. (1996). Who’s in charge here anyway? Student
management teams as an empowerment tool. The Journal Baccalaureate Social Work,
1(2): 85-91.

Sontag, M. (1996). A comparison of hospice programs based on Medicare certification
status. The American Journal of Hospice and Palliative Care, 13(2): 32-41.

Sontag, M. (1995). Characteristics of hospice programs, directors, and selected staff in
one western state. The American Journal of Hospice and Palliative Care, 12(5): 29-37.

Sontag, M., Nadig, J. & Henry, L. (1994). The children’s grief workshop: Social work
practice in hospice. The American Journal of Hospice and Palliative Care, 11(3): 23-29.

Sontag, M. (1992). Hospice values, access to services, and the Medicare hospice benefit.
The American Journal of Hospice and Palliative Care, 9(6): 17–21.


Non-Traditional Publications

Sontag Bowman, M. & Maughan, A. (Hosts). (2020 – present). Love Lived Here [audio podcast].
https://lovelivedhere.libsyn.com/

Sontag Bowman, M. (2011 – present). www.helpwithgrief.org [website].


Book Review

Sontag, M. (2001). Handbook on Animal-Assisted Therapy. In The Journal of the American Veterinary
Medical Association, 218(12): 1214.
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Reports, Papers, & Other Publications

Sontag Bowman, M. & Blair, M. (2019). Montana Access to Pediatric Psychiatry Network: Statewide Needs
Assessment Final Report. Submitted to the Family & Community Health Bureau, Montana Department
of Public Health and Human Services.

Sontag, M. & Derezotes, D. (2000). Identifying and Reducing Risk of At-risk Youth. Utah Gang Update.

Sontag, M. & Tadehara, C. (2000). Ryan White C.A.R.E. Act Title II Case Management Evaluation Plan.
Prepared for the State of Utah Department of Health.

Sontag, M. & Tadehara, C. (2000). Ryan White C.A.R.E. Act Title II Provider Needs Assessment.
Prepared for the State of Utah Department of Health.

Tadehara, C. & Sontag, M. (2000). Ryan White C.A.R.E. Act Title II Client Needs Assessment. Prepared
for the State of Utah Department of Health.

Sontag, M. & Tadehara, C. (1999). HIV Prevention Needs Assessment. Prepared for the State of Utah
Department of Health.

Sontag, M. & Tadehara, C. (1999). Ryan White CARE Act Evaluation: Final Report.
Prepared for the State of Utah Department of Health.

Tadehara, C. & Sontag, M. (1998). Ryan White CARE Act Evaluation: Final Report.
Prepared for the State of Utah Department of Health.

Sontag, M. & Malbica, K. (1994). Social Implications of Legalizing Physician–assisted
Suicide. Physician–Assisted Suicide: Report of the Oregon Hospice Association’s Ethics
Task Force.


PROJECTS, FUNDED AND UNFUNDED

Sontag Bowman, M., Pagoda, R., Mumbauer, J., Machek, G., & Hellem, T. et al. (2021 – present).
Principal Investigator. Behavioral Health in the Big Sky: Innovative Approaches to Assist Montana’s Youth.
Funding: HRSA ($1,915,413).

Cochran, B., Pagoda, R., Sommers-Flannagan, J., & Sontag Bowman, M. et al. (2017 – 2021). Co-
Principal Investigator. Behavioral Health in the Big Sky: Innovative Approaches to Integrated Care. Funding:
HRSA ($1,800,000).

Sontag Bowman, M. (2014 – 2018). Clinical Supervisor. Rural Behavioral Health Primary Care
Collaborative. Funding to Western Montana AHEC from HRSA.

Bowman, M. & Sheetz, J. (2008 – 2015). Co-Principal Investigator. An Evaluation of Pediatric Palliative
Care. Primary Children’s Hospital, Salt Lake City, Utah.
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Mayer, D. & Sontag Bowman, M. (2010 – 2012). Co-Principal Investigator. Patient and family member
perceptions of palliative care. MSU, UM, & Community Hospital.

Bowman, M. & Marret, K. (2006-2013). Principal Investigator. The Impact of a Child’s Death on Parents.
Marjorie Pay Hinckley Endowed Chair, BYU.

Sheetz, J., Bowman, M., Bennett, C., & Gardner, E. (2005-6). Palliative Care Task Force. Primary
Children’s Medical Center.

Sontag, M. (1998-2000). Evaluator. Evaluation of Ryan White C.A.R.E. Act in Utah. State of Utah,
Department of Health.

Sontag, M. (1999). Evaluator. Evaluation of Ryan White C.A.R.E. Act in Utah. State of Utah,
Department of Health.

Sheetz, J., Connors, J. & Bowman, M. (2005-06). Research Associate. Methamphetamine Debut Among
Street Persons Aged 18-23 Years. Open Door and Fourth Street Clinic. Salt Lake City, Utah.

Barusch, A., Steen, P., Yaffe, J. & Sontag, M. (1997-98). Research Associate. Evaluation of Ryan White
C.A.R.E. Act in Utah. State of Utah, Department of Health.

Sontag, M., Quinn, L. & Bowe, L. (1995-96). Principal Investigator. The UWEC Study of Social
Workers in Health Care Settings. The UWEC Office of University Research.

Sontag, M. & Peelman, P. (1994-95). Faculty Supervisor. Hospice Care in England and Scotland: An
Exploration of Services. The UWEC Office of University Research.

Sontag, M., Michaud, S. & Goldsmith, J. (1994). Co-Principal Investigator. The UWEC Therapy Dog
Project. The UWEC Office of University Research.

Sontag, M. (1993-94). Principal Investigator. The UWEC Hospice Research Project. The UWEC Office
of University Research.


PRESENTATIONS & TRAININGS

Sontag Bowman, M. (2020, March). Too Much to Bear: Loss and Grief in Children and Adolescents.
Presented at the Pediatric Mental Health Symposium, Whitefish, Montana.

Sontag Bowman, M. (2019). Grief and Loss in Adolescents. Project ECHO, Billings Clinic.

Sontag Bowman, M. (2018). Dealing with Grief and Loss in Adolescents. On-demand course
recorded for Montana’s Office of Public Instruction.

Sontag Bowman, M. (2017). Providing support for grieving children and teens. Montana Nurses
Association Conference. Helena, MT.
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Sontag Bowman, M. (2017). Providing support after a death. South Hills Middle School. Missoula,
MT.

Sontag Bowman, M. (2016). Grief and loss. Diversity Week: Big Sky High School & Hellgate High
School. Missoula, MT.

Sontag Bowman, M. (2016). Grief and loss in adolescents. Kicking Horse Job Corp. Ronan, MT.

Sontag Bowman, M. (2016). Providing Remote Clinical Supervision. Montana NASW Conference:
The Future of Telemental Health in Montana. Bozeman, MT.

Sontag Bowman, M. (2015). Providing support after a death. Porter Middle School. Missoula, MT.

Sontag Bowman, M. (2015). The ACE study: Translating research into effective practice with
children and families. Montana Prevent Child Abuse and Neglect Conference, Keynote Session.
Helena, Montana.

Sontag Bowman, M. (2015). Grief and Loss. LONGSCAN. Bozeman, Montana.

Sontag Bowman, M. (2014). Adolescents and grief. Western Montana Mental Health. Missoula,
Montana.

Sontag Bowman, M. (2014) Grief and loss. Poverello Spring Retreat. Missoula, Montana.

Sheetz, J. & Sontag Bowman, M. (2012). Pediatric palliative care. Kalispell Regional Healthcare.
Kalispell, Montana.

Sontag Bowman, M. (2012). Communication at the end of life. Community Medical Center.
Missoula, Montana.

Sheetz, J. & Sontag Bowman, M. (2012). Grief and bereavement in the pediatric population.
Kalispell Regional Healthcare. Kalispell, Montana.

Sontag Bowman, M. (2012). The common denominator for foster/adoptive children: Grief and loss.
Child S.H.A.R.E. Kalispell, Montana.

Sontag Bowman, M. (2011). So many losses: Helping foster/adoptive children cope with grief. Child
S.H.A.R.E. Kalispell, Montana.

Sontag Bowman, M. (2010). It can – and should – be done! Creating an engaged learning community
in an online course. University of Montana XLS Conference.

Sontag Bowman, M. (2010). Learning from the experts: Bereaved parents’ perceptions of
Bereavement programs, and what helps with their grief. Children’s Hospice International: 21st World
Congress. Washington D.C.

Sontag Bowman, M. & Sheetz, J. (2010). Parent perceptions of a pediatric palliative care program.
Children’s Hospice International: 21st World Congress. Washington D.C.
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Bowman, M. & Bowman, K. (2009). Loss, grief, and hope. Salt Lake Country Sheriff’s Office. Salt
Lake City, Utah.

Bowman, M. (2009). Loss and grief. Bitterrroot Living Center. Stevensville, Montana.

Bowman, M. (2009). Loss and grief. Valley View Estates. Hamilton, Montana.

Bowman, M. & Bowman, K. (2008). Bad new: Delivery, support and self-care. Salt Lake Country
Sheriff’s Office. Salt Lake City, Utah.

Bowman, M. (2008). The parental bereavement study. Grand Rounds. Children’s Hospital.
Birmingham, Alabama.

Bowman, M. & Nielsen, J, (2007). Using the Internet to Support Bereaved Families: Results and
Reflections from an e-mail Grief Support Group. The 3rd International Conference on Patient- and
Family-Centered Care. Seattle, WA.

Bowman, M. & Sontag, C. (2007). A mother dies alone: Lessons about the importance of
psychosocial assessments in health care settings. The 3rd International Conference on Patient- and
Family-Centered Care. Seattle, WA.

Bowman, M. & Bowman, K. (2006). Death notification. Salt Lake Country Sheriff’s Office. Salt
Lake City, Utah.

Bowman, M. & Jackson, M. (2005). We are not alone: Supporting bereaved children and adults
through group work. Children’s Hospice International: 17th World Congress. Salt Lake City, Utah.

Jackson, M. & Bowman, M. (2005). The pain of grief: A necessary component of healing. Children’s
Hospice International: 17th World Congress. Salt Lake City, Utah.

Bowman, M. (2005). Supporting families during grief and bereavement. The Art and Medicine of
Caring: Strategies and Skills in Pediatric Palliative Care. Salt Lake City, Utah.

Bowman, M. (2005). Maintaining ‘CARE’ in palliative care a.k.a. “How do I come back to work on
Monday?” (Closing Session). The Art and Medicine of Caring: Strategies and Skills in Pediatric
Palliative Care. Salt Lake City, Utah.

Bowman, M. (2005). Supporting grieving children. VistaCare Hospice. Ogden, Utah.

Bowman, M. (2005). Acute grief in children. Intermountain Health Care Critical Incident Team
Training. Salt Lake City, Utah.

Bowman, M. (2003; 2004; 2005). Loss, grief, and bereavement. Weber State University: Nursing
Program. Ogden, Utah.

Bowman, M. (2005). Bereavement of parents and children. University of Utah Hospital Social Work
Department. Salt Lake City, Utah.
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Bowman, M. (2005). Beyond cute and cuddly: Effective communication in difficult encounters.
Intermountain Therapy Animals. Salt Lake City, Utah.

Bowman, M. (2005). Living with chronic sorrow. Primary Children’s Medical Center. Salt Lake City,
Utah.
Bowman, M. (2005). Living with chronic sorrow. Utah Parent Center: Family Links North. Murray,
Utah.

Bowman, M. (2004). Coping with grief. Third International SADS Foundation Conference. Salt
Lake City, Utah.

Bowman, M. (2004). Coping with loss and grief. Brain Injury Association of Utah. Ogden, Utah.

Bowman, M. (2004). Grief and loss in the hospital setting. Adjunct Chaplains Inservice: Primary
Children’s Medical Center. Salt Lake City, Utah.

Steenblik, G. & Bowman, M. (2004). Supporting bereaved families. RTU Staff Inservice: Primary
Children’s Medical Center. Salt Lake City, Utah.

Bowman, M. (2004). Grieving & hope: Living with the death of your child. Primary Children’s
Medical Center. Salt Lake City, Utah.

Bowman, M. (2004). Helping teenagers cope with grief. Judge Memorial High School. Salt Lake City,
Utah.

Bowman, M. (2004). Coping with grief. IHC Home Care Offices. Salt Lake City, Utah.

Bowman, M. (2003). Children and grief. Primary Children’s Medical Center. Salt Lake City, Utah.

Bowman, M. (2003). Facilitating grief and bereavement in the community of faith. Primary
Children’s Medical Center. Salt Lake City, Utah.

Bowman, M. (2001). Theory application with families. NASW Fall Workshops. Salt Lake City, Utah.

Sontag, M. & Hoffman, T. (2000). Identifying and reducing risk of “at-risk” youth. Utah Gang
Conference. Salt Lake City, Utah.

Sontag, M. (1999; 1998). Hospice social work. Northern California Kaiser Permanente. Oakland,
California.

Reese, D., Sontag, M., Raymer, M. & Richardson, J. (1998). National hospice social work survey:
Plan and preliminary results. National Hospice Organization: Annual Meeting and Symposium.

Reese, D. & Sontag, M. (1997). Preparing students to articulate the social work role on
interdisciplinary health care teams. Council on Social Work Education: Annual Program
Meeting.
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Sontag, M., Bowe, L., Brumm, L., Goldsmith, J., Quinn, L. & Volkman, B. (1996).
Providing support for grieving children. National Hospice Organization: Annual Meeting and
Symposium.

Sontag, M. (1996). Who's in charge here anyway? Student management teams as an
empowerment tool. Council on Social Work Education: Regional Meeting. Iowa City, Iowa.
Sontag, M. (1995). Vision, reality, and possibilities: Interdisciplinary collaboration in
hospices. National Hospice Organization: Annual Meeting and Symposium.

Sontag, M. (1995). Making it happen: Interdisciplinary collaboration in hospices. National Hospice
Organization: Annual Meeting and Symposium.

Sontag, M. & Michaud, S. (1995). Pet-facilitated volunteering with elderly clients.
University of Wisconsin: Institute on Aging. Madison, Wisconsin.

Sontag, M. (1995). The children’s grief workshop. National Hospice Organization: Annual Meeting
and Symposium.

Michaud, S., Sontag, M. & Smiar, N. (1995). Who's in charge here anyway? Student
management teams as an empowerment tool. Council on Social Work Education: Annual
Program Meeting.

Sontag, M. & Kerwin, M. (1995). Terminal care considered: The UWEC hospice research project.
University of Wisconsin: Institute on Aging. Madison, Wisconsin.

Sontag, M. & Bissell, M. (1994). Lessons from the front lines: Providing services to hispanic people
in rural Oregon. NASW Washington/Oregon Chapter: Regional Conference. Hood River, Oregon.

Sontag, M., Kerwin, M. & Richason, G. (1994). The UWEC hospice research project: A
profile of hospice programs and professionals. National Hospice Organization: Annual
Meeting and Symposium.

Sontag, M. (1994). The three most frequently mentioned challenges of hospice nurses, social
workers, and chaplains. National Hospice Organization: Annual Meeting and Symposium.

Sontag, M. (1993). The children’s grief workshop. National Hospice Organization: Annual Meeting
and Symposium.

Sontag, M. (1997). Differences between hospice and home health care. Utah Hospice
Association: Annual Meeting. Salt Lake City, Utah.

Sontag, M. (1997). Creating synergy: Maximizing hospice as interdisciplinary practice.
Hospice Organization of Wisconsin: Annual Conference. LaCrosse, Wisconsin.

Sontag, M. (1996). Hospice in the United States: The emperor has no clothes. Keynote
Presentation. Iowa Hospice Social Workers’ Association: Annual Meeting. Ames, Iowa.

Sontag, M. & Michaud. S. (1995). The use of therapy dogs with the elderly.
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Indianhead Nursing Home Social Workers Association: Program Meeting. Eau Claire, Wisconsin.

Tallant, S., Sontag, M. & Leffinga, L. (1995). An analysis of the use of teaching assistants. UWEC
Administrative Retreat. Eau Claire, Wisconsin.

Sontag, M. & Michaud, S. (1995). The use of therapy dogs with the elderly. Area Nursing Home
Activity Directors’ Association: Program Meeting. Eau Claire, Wisconsin.

Sontag, M. & Michaud, S. (1995). Team building. Community Education Center: Training Program.
Eau Claire, Wisconsin.

Sontag, M. (1994). Coping with grief. University of Wisconsin–Eau Claire: Senior
American's Day. Eau Claire, Wisconsin.

Sontag, M. (1993). The stress of grief. Legacy Health System: Volunteer Appreciation Day. Portland,
Oregon.


SERVICE

Selected Service to the University of Montana

   ●   Chair, Faculty Senate (2017 – 2018)
   ●   Member, UM Provost Search Committee (2017 – 2018)
   ●   Chair-elect, Faculty Senate (2016 – 2017)
   ●   Reviewer, APASP (2017)
   ●   Member, UM First Year Seminar Committee (2015 – 2017)
   ●   Member, Executive Committee of Faculty Senate (2014 – 2018)
   ●   Member, Strategic Planning Coordinating Council (2016 -18)
   ●   Chair, BSW Program (2014 – 2018)
   ●   Member, BSW Committee (2008 – 2010; 2013- present)
   ●   Member, MSW Committee (2010 - 2013)
   ●   Member, MSW Admissions Committee (2009 - 2011)


Selected Service to the University of Utah

   ●   Member, Institutional Review Board (1997 – 2000)
   ●   Member, Faculty Executive Committee (1998 – 2000)
   ●   Member, BSW Feasibility Committee (1998 – 2000)
   ●   Member, Curriculum Committee (1997 – 98; 2000)


Selected Past Professional Service

Grant Reviewer, Montana Continuum of Care (2011 – 2012)
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Current and Past Manuscript Reviewer

   ●   Death Studies
   ●   Sociological Focus
   ●   Journal of Palliative Medicine
   ●   American Journal of Veterinary Medicine

NASW
  ● Past Utah NASW Board Member
  ● Alternate Wisconsin Delegate, 1996 Delegate Assembly

The National Hospice Organization
   ● Member, Research Committee (1996-99)
   ● Education Materials Reviewer (1996 – 99)
   ● Member, Social Work Steering Committee (1997 – 99)
   ● Section Leader, Student Professional Interest Network (1996 – 99)
   ● Newsletter Editor, Council of Hospice Professionals (Research/Academic/Education
      Section) (1994 – 96)
   ● Member, Steering Committee, Council of Hospice Professionals
      (Research/Academic/Education Section) (1994-95)
      Case 9:21-cv-00088-BMM Document 5-1 Filed 08/19/21 Page 17 of 33

                        RHONDIE L. VOORHEES, Ph.D.




EDUCATION

Doctor of Philosophy, College Student Personnel Administration

     UNIVERSITY OF MARYLAND, COLLEGE PARK, 2008
     Department of Counseling and Personnel Services, College of Education
     Professional concentration: Federal legislative issues in higher education
     Dissertation: The Impact of a Peer Multicultural Dialogue Leader Training Program on Cognitive
         Development of College Students and Overall Learning: An Evaluative Case Study
     Comprehensive Exams with Honors

Master of Arts, College Student Personnel

     UNIVERSITY OF MARYLAND, COLLEGE PARK, 1992
     Department of Counseling and Personnel Services, College of Education
     Thesis: Perception of Campus Climate and Self-Esteem Among Male and Female College Students
        in Non-Traditional and Traditional Majors

Bachelor of Arts, Psychology, Minor in French

     UNIVERSITY OF MONTANA, 1988
     Graduation with High Honors



PROFESSIONAL & WORK EXPERIENCE

Overview:
 2012 – 2018        Dean of Students, University of Montana
 2010 – 2012        Affiliate Assistant Professor, College Student Personnel
                    University of Maryland, College Park
 2009 – 2012        Program Director, Common Ground Multicultural Dialogue Program
                    Resident Life, University of Maryland, College Park
 2006 – 2009        Coordinator for Collaborative Learning Initiatives
                    Resident Life, University of Maryland, College Park
 2003 – 2006        Program Coordinator, Common Ground Multicultural Dialogue Program
                    Resident Life, University of Maryland, College Park
 2002 – 2003        Judicial Hearing Officer, Office of Rights and Responsibilities
                    Resident Life, University of Maryland, College Park
 2002 – 2002        Legislative Assistant, Office of Congresswoman Patsy T. Mink
                    United States House of Representatives, Washington, D. C.
 2000 – 2002        Graduate Assistant, Common Ground Multicultural Dialogue Program
                    Resident Life, University of Maryland, College Park
 1998 – 2000        Assistant Director – Housing Programs, Residential Life, American University
 1996 – 1998        Area Director, Residential Life, American University
 1995 – 1996        Resident Director, Residential Life, American University
 1992 – 1995        Resident Director, Residential Life, University of Illinois at Urbana-Champaign


                                                                                                  Exhibit 4
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DEAN OF STUDENTS, University of Montana
July 2012 – August 2018

    •    Dean of Students at the University of Montana, Division of Student Affairs
    •    The University of Montana includes the Mountain Campus in Missoula (main campus), Missoula
         College, an embedded two-year college located across the river from Mountain Campus offering
         occupational and technical education programs (~2,000 students), and Bitterroot College, a two-
         year college offering workforce preparation programs in Hamilton, Montana (~ 200 students)
    •    Provided direct support to the Vice President for Student Affairs who reported to the President;
         key member of a team of 14 student affairs officers and directors who led American Indian
         Student Services (AISS), Campus Recreation, Career Services/Testing Services, Curry Health
         Center, Disability Services for Students (DSS), Student Advocacy Resource Center (SARC)/
         Campus Assault Prevention Coordinator, Student Affairs IT (SAIT), UM Dining, UM Housing,
         the University Center (UC), the Veterans Education and Transition (VETS) Office, the Black
         Student Union, and the Student Affairs budget office
    •    Provided direct support and advocacy for students and families needing assistance from the
         university, including in cases of personal or family crises and emergencies
    •    Represented the Division of Student Affairs and the institution to the state-wide chief student
         affairs officers group convened monthly by the Office of the Commissioner for Higher Education

   Chief Student Conduct Officer
    •    Responsible for administering the university’s Student Conduct for general misconduct;
         collaborated with Academic Affairs for cases involving academic misconduct
    •    Adjudicated the most serious student conduct cases, including all that had potential to rise to
         suspension and expulsion; conducted investigations as needed; applied appropriate sanctions
    •    Ensured that student conduct processes were administered in a manner that was clearly
         articulated, fair, respectful to all parties, and adhered to fundamental principles of due process
    •    Coordinated closely with UM Housing (which houses ~2,400 students in traditional residence
         halls and an additional ~1,000 in apartments and graduate/family housing) on student conduct
         issues and response; worked especially closely with the Assistant Director of Student Conduct for
         UM Housing who is responsible for adjudicating student conduct cases in the residence halls that
         do not rise to the level of suspension or expulsion
    •    Implemented and enforced all interim suspensions and other interim measures such as no
         contact and no trespass orders
    •    Served as the institutional sanctioning authority in Title IX cases when students were found in
         violation of the university’s sexual misconduct and discrimination policy
    •    Led a complete revision and update the Student Conduct Code in 2013; ensured appropriate
         provisions for due process and accurate coordination with emerging guidance from the U.S.
         Department of Education and Department of Justice, especially for sexual misconduct cases
    •    Led a new campus-wide implementation of Maxient’s Conduct Manager software in 2014;
         ensured appropriate revision and updating of all relevant policies, conduct letters, and templates
    •    Provided frequent consultation and response on student conduct issues for all members of the
         campus community and other involved parties, including students, faculty, staff, and attorneys
    •    Partnered regularly with the Athletics Department, including the Athletics Director and the
         Senior Associate Athletics Director, on issues related to student athletes and the Student Athlete
         Conduct Code
    •    Completed the Gehring Academy, Senior Level Training Institute, Summer 2012, Louisville, KY

   Behavioral Intervention Team (BIT)
    •    Key member of the university’s Behavioral Intervention Team (BIT) responsible for identifying,
         assessing, and responding to serious concerns and/or disruptive behaviors by students who may
         present threats to the health or safety of the campus community; the BIT meets weekly to
         evaluate cases, plan and coordinate responses, and follow up; the team is a member of NaBITA
    •    The BIT attends to many serious and critical issues including student mental health, appropriate
         accommodation to disability, coordinating appropriately with on-campus and off-campus
         resources and potential referral agencies, coordinating with law enforcement as needed, and
         communicating effectively with involved campus and/or community partners
    •    In working with BIT cases, the Dean of Students focused primarily on student conduct when
         warranted and extensive general student case management and follow-up when needed
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Title IX Case Review Team
 •    Key member of the Title IX case review and management team, which meets weekly to evaluate,
      plan for, and review emerging or continuing sexual misconduct and discrimination cases under
      the jurisdiction of the university’s Policy on Discrimination, Harassment, Sexual Misconduct,
      Stalking, and Retaliation; the case review team also discusses and responds to related issues such
      as sexual assault prevention education, discrimination, and hate/bias incidents
 •    Coordinated various aspects of case management involving students, especially the
      implementation and enforcement of interim measures such as no contact orders
 •    Significant involvement in the development and writing of the original sexual misconduct policy
      and subsequent revisions
 •    Member of JUST Response, a multidisciplinary team in the City of Missoula dedicated to sharing
      information and building relationships for the purpose of enhancing sexual assault prevention
      and response across the community; partners include law enforcement and hospitals
 •    Partnered regularly with the Athletics Department, including the Athletics Director and the
      Senior Associate Athletics Director, on issues involving sexual misconduct and student athletes
 •    Attended numerous local, state, and national trainings, workshops, and webinars on Title IX and
      sexual assault adjudication, response, and prevention on college campuses, including several
      sponsored by the Department of Education and the Department of Justice
 •    Standing member, University Council on Sexual Assault (UCSA)

Administrative Liaison to the Associated Students of University of Montana (ASUM)
 •    Unofficial advisor and administrative liaison to ASUM, UM’s student government and senate
 •    Attended senate meetings, retreats, and other events; provided guidance and advice to executive
      leadership and senators; assisted with issues and challenges as needed including on election
      matters, interpersonal issues, institutional processes and politics, and policy questions

Fraternity & Sorority Involvement
 •    Collaborated closely with the Director of Fraternity & Sorority Involvement (FSI) and other
      University Center staff; met regularly to keep apprised of chapter events, monitor emerging
      issues, evaluate existing policies and procedures, and discuss institutional responses if needed
 •    Periodically attended chapter meetings, Interfraternity Council/Panhellenic Council meetings,
      and leadership retreats
 •    Provided leadership on interpretation and enforcement of relevant campus policies including the
      Fraternity and Sorority Mutual Relationship Agreement and the Student Conduct Code, especially
      with regard to student behavioral issues, alcohol and drug use, sexual misconduct, and hazing
 •    Provided advice on FSI judicial proceedings
 •    Collaborated with staff, chapter leadership, advisors, alumni, and national organizations to
      address potential challenges and position chapters, chapter leadership, and members for success

Clery Act Compliance – Campus Clery Team
 •    Key member of the campus Clery Team, a small group of administrators dedicated to improving
      institutional compliance with the Clery Act; additional team members included representatives
      from the University of Montana Police Department (UMPD), UM Housing, the Title IX Office,
      and campus compliance
 •    Led in drafting and organizing a significant revision and overhaul of UM’s Annual Security Report
      (ASR) in 2016 in response to detailed feedback from a consultant; played a key leadership role in
      compiling information and drafting major portions of the text of the ASR in 2017
 •    Initiated efforts to raise awareness of compliance concerns with senior institutional leadership
 •    Provided leadership in updating and improving accuracy for many essential elements of Clery
      compliance including the campus CSA (Campus Security Authority) list, Clery geography, and
      required policies including the timely warning and emergency notification policies
 •    Monitored UM website content for compliance with the Clery Act and consistency with the ASR
 •    Played a key role in campus crisis management and response and in determining the issuance and
      content of timely warnings and/or emergency notifications
 •    Attended numerous local, state, and national trainings, workshops, and webinars on Clery
      compliance, including the Clery Act Training Seminar by the Clery Center for Security on Campus
      and Margolis Healy (March, 2016 in Boise, ID), and Clery Act Compliance Training by D. Stafford
      and Associates (October, 2017 in Phoenix, AZ)
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Biennial Review – Compliance with the Drug-Free Schools and Communities Act
 •    Compiled and wrote the institution’s Biennial Review in compliance with the Drug-Free Schools
      and Campus Regulations/Drug-Free Schools and Communities Act
 •    Partnered with several other campus offices, especially the Curry Health Center and UM Housing,
      to gather needed information and data
 •    Ensured that UM’s website information about drug and alcohol policies and prevention was
      accurate, updated, and in compliance

Campus Crisis Management and Response
 •    Provided 27/7 on-call support for campus crises and emergencies, especially in cases involving
      students
 •    Collaborated closely with law enforcement, especially the University of Montana Police
      Department, the Communications Director, the President’s Office, UM Housing, Disability
      Services for Students, and other offices and campus officials as needed
 •    Served as the primary institutional contact for outreach and communication with parents and
      families
 •    Participated in Active Resistance Training (January 8, 2014), which was organized by the
      University of Montana Police Department with other local law enforcement agencies and
      provided active shooter and emergency training

Admissions Review Committee Chair
 •    Chaired the university’s Admissions Review Committee, charged with reviewing the admission of
      any prospective student who may present a risk to the safety and security of the campus
      community; most cases involved past felonies or suspensions or expulsions from other campuses
 •    Coordinated with probation officers, officials from the criminal justice system, pre-release
      centers, case workers, and others to help applicants obtain the needed information for review
 •    Supervised the full-time administrative associate responsible for communicating with applicants,
      compiling needed information, and preparing materials for committee review
 •    Worked with individual applicants on case management and case-specific issues as needed;
      communicated committee decisions to applicants and other university offices
 •    Monitored policy issues and national trends with regard to admissions review practices

Prevention Education Programs
 •    Coordinated logistics for the yearly and ongoing implementation of five mandatory prevention
      education programs for students, which included four online programs and one in-person
      program; developed a comprehensive communication plan and disseminated regular information
      to students and the campus community about the programs, requirements, and deadlines
 •    Served as the institutional contact for EVERFI, the company that provided the online programs

Admissions & Orientation
 •    Partnered with the Admissions and Orientation offices to assist with New Student Orientation,
      Family Orientation, UM Days, and other related activities
 •    Delivered welcome addresses and panel presentations to welcome and orient new students and
      families to the campus community and provide important information about student conduct,
      safety issues, campus resources, and student involvement, engagement, and success

Additional Initiatives, Activities, and Committee Memberships
 •    Enhanced inclusion of transgender students: Initiated renewed efforts to improve inclusion for
      transgender students in the campus community, ensure the presence of important information on
      the UM website, and continue work with the Registrar’s Office on preferred names (2018)
 •    Free speech work group (2016 – 2018)
 •    Search committee for the Vice President for Enrollment and Student Affairs (Spring, 2016)
 •    Cyberbullying task force (2015)
 •    Tobacco-Free task force (2013 – 2016)
 •    University Ethical Values Statement Committee (2013 – 2014)
 •    Diversity Advisory Council (2012 – 2015)
 •    Drug & Alcohol Advisory Committee (DAAC) (2012 – 2015)
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AFFILIATE ASSISTANT PROFESSOR, College Student Personnel Graduate Program,
College of Education, University of Maryland, College Park
Fall 2010 – June 2012
    •    Provided on-going support to the master’s and doctoral programs including committee
         involvement, orientation activities, and advice and guidance to graduate students
    •    Taught master’s and doctoral classes
    •    Admissions committee member (Spring 2012)
    •    Master’s and doctoral curriculum review committee member (Summer 2011)


PROGRAM DIRECTOR, COMMON GROUND MULTICULTURAL DIALOGUE PROGRAM
Department of Resident Life, University of Maryland, College Park
July 2009 – June 2012
   Common Ground Multicultural Dialogue Program
    •    Coordinated the on-going conceptualization, development, and implementation of the Common
         Ground Dialogue Program, an innovative initiative that provided structured opportunities for
         diverse groups of 8 to 16 undergraduates to engage in peer-led dialogues about complex societal
         issues that have important implications for twenty-first century U.S. multicultural society
    •    Taught and coordinated two 3-credit fall undergraduate classes designed as pre-requisites for the
         dialogue leader training program: BSCV/BSOS 301 – Leadership in a Multicultural Society and
         EDCP 318L – Adaptive Strategies for Multicultural Leadership and Dialogue; recruited and
         supervised undergraduate TAs
    •    Designed and implemented EDCP 318L as a new campus-wide class offering starting Fall 2009
    •    Coordinated all aspects of the spring 3-credit Peer Dialogue Leader training internship for a
         group of 8 to 18 students; recruited and selected Peer Dialogue Leaders; co-led and managed a
         120-hour training curriculum; provided on-going supervision and consultation to dialogue
         leaders; managed all curricular aspects of the internship including required group sessions and
         individual hours
    •    Managed all administrative and logistical tasks associated with scheduling dialogue groups and
         consulting with organizers, dialogue leaders, and participants
    •    Provided oversight for selection, supervision, and payroll for Peer Dialogue Leaders and student
         office assistants
    •    Selected, trained, and supervised a Graduate Coordinator for the Common Ground Program
    •    Maintained on-going collaboration with the Director of the CIVICUS Learning and Learning
         Program; collaborated with the Syn*Quest Collaborative and other campus partners
    •    Planned and presented training sessions and presentations about the Common Ground program
         and related philosophical concepts to professional staff, faculty, student, and conference
         audiences
    •    Initiated, compiled, and analyzed participant evaluation results; created a spreadsheet and
         database system to accommodate twelve years of data

    Research Agenda – Common Ground Multicultural Dialogue Program
    •    Conceptualized the implementation of a comprehensive and multifaceted research agenda
         designed to understand undergraduate student learning and experiences from participation in
         four-session Common Ground dialogue groups; secured university IRB approval
    •    Data sources included dialogue group participant evaluations, a pre- and post-group instrument,
         focus groups, and individual interviews with dialogue group participants
    •    Procedures for data analysis included both qualitative and quantitative research methods
    •    Compiled and disseminated emerging themes and trends about student learning from the
         program evaluation and research data

   Departmental Multicultural and Diversity Initiatives
    •    Served as a departmental consultant and trainer for numerous multicultural and dialogue
         initiatives for professional staff, student staff, faculty, and students
    •    Long-term involvement (2003 – 2012) in planning and coordinating all aspects of a professional
         multicultural consultant’s annual two-week visit to the department including collaborating with
         him to develop visions for workshops and programmatic content
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     •    Provided leadership for the conceptualization, design, and implementation of a Multicultural
          Explorations Series, a comprehensive set of professional staff development programs designed to
          encourage exploration, consideration, and discussion of multiple perspectives, complexities, and
          nuances associated with multicultural work in higher education
     •    Co-chaired the Undergraduate Multicultural Education Team (2008 – 2011), a departmental
          committee charged with developing multicultural community and educational programs for
          resident students

   Global Learning Initiatives, Department of Resident Life
     Co-Chair, Development of Global Learning Experiences Committee (2008 –2011)
     •    Involved in the conceptualization, organization, implementation, and leadership of a department-
          wide committee charged with developing strategies for global learning through student, student
          leader, and professional staff international engagement
     •    Responsible for managing all aspects of committee meetings including schedules, agendas,
          minutes, and guest speakers
     •    Provided oversight and guidance for committee activities
     •    Involved in crafting a departmental statement about student learning through global experiences

     Leadership in Planning Global Experiences Abroad for Students (2009 –2011)
     •    Provided leadership and guidance for six Resident Life international trips for students over two
          academic years; assisted with troubleshooting and problem-solving in all aspects of trip planning
     •    Identified student learning outcomes; developed and implemented a comprehensive plan for
          evaluation and assessment of student learning that included pre-trip expectations, post-trip
          reflections, and focus groups; initiated a strategy for data analysis
     •    Created and maintained detailed records and a manual to provide guidance for future trip leaders
          in planning departmental global experiences for students

     2011 Global Experience to Morocco, 2010 Global Experience to Qatar & Oman
     •    Created, planned, and co-led the 2011 Global Experience to Morocco, a collaboration with the
          Honors Humanities Living and Learning program and faculty director that provided a two-week
          cultural immersion experience in Fes and Sidi Ifni, Morocco for eight undergraduate students and
          two faculty/staff members
     •    Created, planned, and co-led the 2010 Global Experience to Qatar & Oman, a ten-day Spring
          Break cultural immersion experience in the Middle East for seven student leaders and three staff
          members
     •    Created and co-taught a required one-credit class for student participants in the Morocco trip that
          was focused on contemporary societal issues in Morocco and preparation for international travel
     •    Researched, developed, and successfully proposed a comprehensive risk management plan for the
          Morocco trip in response to requests from university officials in the wake of a terrorist bombing in
          Morocco and worldwide State Department travel alerts issued after the death of Osama bin
          Laden; managed on-going university, student, and family questions and concerns
     •    Responsible for all aspects of planning and leading both trips including meeting with university
          study abroad officials to determine campus expectations, identifying and tracking required forms
          and legal issues, managing the student application and selection process, staff selection, trip
          leader preparation, budgets, deposits and expenditures, identifying and confirming arrangements
          with on-site hosts, itineraries and activities, pre- and post-trip meetings and curricula, logistical
          issues related to international travel (e.g. visas, immunizations, and currency exchange), website
          updates, and post-trip presentations


COORDINATOR FOR COLLABORATIVE LEARNING INITIATIVES
Department of Resident Life, University of Maryland, College Park
October 2006 – July 2009
     Common Ground Multicultural Dialogue Program
     •    Coordinated the continued development and implementation of the Common Ground Program
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     •    On-going responsibilities included teaching foundational classes, training Peer Dialogue Leaders,
          managing the three-credit training internship, scheduling four-session and one-session dialogue
          groups, and gathering and analyzing program evaluation data

     Resident Life Departmental Retreat Planning
     •    Long-term involvement in planning of departmental retreats including planning and leading of
          both small and large retreat group sessions
     •    Served as the planning committee chair for the three-day departmental retreat in July 2008 and a
          one-day retreat in January 2009, both for 85 professional and graduate staff

     Departmental Multicultural Initiatives
     •    Served as a departmental consultant and trainer for various multicultural initiatives for
          professional staff, student staff, and students; conducted numerous multicultural training
          sessions, dialogues, and presentations for full-time, graduate, and student staff

     Organizational Development Committee
     •    Provided leadership in the writing and development of a new set of Multicultural Capacities for
          the department; involved in on-going staff training related to the Multicultural Capacities

     Professional Staff Dialogues and Dialogue Leader Training
     •    Co-facilitated a 50-hour dialogue leader training program for 12 professional and graduate staff
     •    Organized and facilitated multicultural dialogues for professional staff on various current issues

     Search Committee Chair
     •    Chaired a Spring 2006 national search for the Coordinator of Rights and Responsibilities position


PROGRAM COORDINATOR
Department of Resident Life, University of Maryland, College Park
July 2004 – October 2006: Full time
January 2000 – April 2002 and July 2003 – July 2004: Doctoral graduate assistantship
     Common Ground Multicultural Dialogue Program
     •    Assisted with the initial conceptualization, development, and implementation of the Common
          Ground Dialogue Program (launched in 2000)
     •    On-going responsibilities included co-teaching a 3-credit foundational class, BSOS 301 –
          Leadership in a Multicultural Society; training Peer Dialogue Leaders; scheduling four-session
          and one-session dialogue groups; and gathering and analyzing program evaluation data

     Co-Chair, Department of Resident Life Multicultural Philosophy Steering Committee
        (July 2003 – May 2006)
     •    Selected to co-facilitate a new departmental steering committee of 12 members charged with
          orienting staff and students to a newly written Multicultural Philosophy and implementing it in
          the daily practice and work of the department
     •    Provided leadership in developing a structure for the committee that enabled the department to
          manage on-going multicultural initiatives and implement new ideas and proposals related to the
          Multicultural Philosophy

     Retreat Planning and Additional Committee Membership
     •    Involved with the planning and implementation of numerous January and July departmental
          retreats; analyzed retreat evaluation results and developed written reports
     •    Synthesized, organized, and distributed minutes for the department’s Continuous Quality
          Improvement Committee (CQIC) and Programming Coordination Committee (PCC)
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JUDICIAL HEARING OFFICER, OFFICE OF RIGHTS AND RESPONSIBILITIES
Department of Resident Life, University of Maryland, College Park
November 2002 – July 2003 (Doctoral Graduate Assistantship)
     •    Conducted preliminary interviews and disciplinary conferences with students charged with
          violating residence hall and/or university rules who were facing housing termination and
          potential campus sanctions including suspension or expulsion from the university
     •    Questioned witnesses and other relevant parties; consulted with students, parents, and attorneys;
          made final decisions about responsibility and developed recommendations for appropriate
          residence hall and university judicial sanctions
     •    Involved in the selection and training of student judicial hearing board members
     •    Scheduled judicial hearings and coordinated with all relevant parties including respondent(s),
          hearing board members, witnesses, advisors, staff, parents, attorneys, and police officers


LEGISLATIVE ASSISTANT, OFFICE OF CONGRESSWOMAN PATSY T. MINK
United States House of Representatives, 2nd Congressional District of Hawaii,
Washington, D. C.
April 2002 – November 2002
     •    Served in the U.S. Congress as a legislative assistant for education issues
     •    Specific areas of responsibility included Title IX, higher education, secondary education,
          elementary education, early childhood education, poverty, domestic violence, and welfare
     •    Researched issues and legislation; prepared press releases and talking points for speeches, press
          conferences, and appearances
     •    Wrote and prepared written statements for the Congressional Record including Congresswoman
          Mink’s final written reflection on Title IX, a historical account of the passage of the legislation to
          mark the occasion of its 30th anniversary, published July 17, 2002
     •    Researched and responded to constituent letters and requests
     •    Served as the primary liaison to various Hawaii agencies, constituent groups, and colleges and
          universities
     •    Consulted with federal agencies including the U.S. Department of Education and the U.S.
          Department of Justice to obtain information for constituents and agencies in Hawaii; notified
          Hawaii agencies of federal grant awards
     •    Met with lobbyists, constituents, and visitors
     •    Attended, monitored, and reported on hearings and proceedings of the Committee on Education
          and the Workforce and other congressional committees


ASSISTANT DIRECTOR – HOUSING PROGRAMS
Residential Life and Housing Services, American University, Washington, D.C.
June 1998 – January 2000
     •    Managed all summer residence hall operations – including summer conferences, intern housing,
          Summer Washington Semester Program, and AU summer students – for a system of 3,400 beds
          in seven residence halls; accommodated over 7,800 conference guests and 1,000 interns and
          summer students annually
     •    Generated and managed $3 million in summer housing revenues; managed disbursements of
          over $730,000 in food, beverage, meeting room, and equipment revenues; managed operational
          expenditures of $260,000
     •    Contacted and recruited prospective clients; negotiated all contracts, services, and pricing
     •    Coordinated the summer responsibilities of 9 full-time professional staff; directly supervised a
          full-time Staff Assistant for Housing Programs, two Revenue Assistants, two Site Coordinators,
          and a Guest Services Manager
     •    Responsible for the supervision of 61 full-time student staff
     •    Developed and implemented a new and comprehensive summer operations staffing and pay
          structure for 10 full-time professional staff and 66 full-time student staff
     •    Directed the recruitment, selection, and training efforts for all summer staff
     •    Managed the university’s Off-Campus Housing service; supervised student staff, maintained
          oversight of a web database, and ensured staffing of a temporary satellite office
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     •    Coordinated the development and management of high-profile departmental publications
          including a comprehensive campus Room Selection guide


AREA DIRECTOR
South Complex, Residential Life and Housing Services, American University, Washington, D.C.
July 1996 – June 1998
     •    Coordinated the residential life operations for a residence hall community of 1800 undergraduate
          and graduate students
     •    Supervised two full-time, professional Resident Directors
     •    Responsible for the supervision of 41 Resident Assistants including direct supervision of six
     •    Supervised an undergraduate Desk Coordinator who managed 37 Desk Receptionists responsible
          for desk operations including check-in, keys, packages, and access to buildings
     •    Provided campus-wide on-call emergency duty coverage for 3,300 residents
     •    Led weekly Complex meetings with professional staff including Resident Directors and
          housekeeping, physical plant, and maintenance supervisors
     •    Conducted discipline hearings and administered community service and judicial sanctions
     •    Counseled residents with personal, social, academic, and/or career issues
     •    Coordinated the development and implementation of administrative processes including
          verification of room assignments, room change, room selection, and damage billing
     •    Involved in the development of a two-week fall training for 70 Resident Assistants; presented
          sessions on topics including helping skills, crisis management, suicide, confrontation, and
          mediation
     •    Chaired professional staff search committees, a living-learning program group to review honors
          floors, and a workgroup to review the campus-wide duty system for professional and student staff


RESIDENT DIRECTOR
Centennial Hall, Residential Life and Housing Services, American University, Washington, D.C.
July 1995 – July 1996
     •    Coordinated the residential life operations for a co-ed residence hall of 400 upper class and
          graduate students
     •    Selected, supervised, evaluated, and provided weekly training for six Resident Assistants and
          two Residence Maintenance Crew workers responsible for facilities maintenance
     •    Advised the Centennial Hall Committee of the Residence Hall Association
     •    Developed curriculum for a 10-week RA Seminar and campus-wide multicultural programs
     Additional Responsibilities & Assignments:

     American University Conduct Council Administrator
     •    Administered campus judicial hearings, advised undergraduate and faculty Hearing Board
          members, counseled complainants and respondents regarding Conduct Council policies and
          procedures, advised students and parents about the role of attorneys in the university judicial
          process, consulted with attorneys and parents as appropriate, prepared follow-up written reports

     Supervisor, Graduate Advisors in Residence Program
     •    Supervised two Graduate Assistants responsible for campus-wide faculty programming in the
          residence halls and for advising residents on university academic policies and procedures

     Interim Coordinator, University Off-Campus Housing Office
     •    Coordinated the transition of the University Off-Campus Housing Office into the office of
          Residential Life and Housing Services, supervised three student staff
     •    Improved services to students including oversight of the development of a new campus website

     Student Affairs Research and Program Development Committee
     • Sub-committee chair; conducted campus-wide focus groups designed to assess graduate students’
        perceptions of campus climate, resources, and services
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     American University Residence Hall Association Interim Advisor (Summer, 1996)
     •    Advised undergraduate Executive Board members, reviewed and approved program contracts and
          budget requests, interpreted university policies and procedures, provided guidance and trouble-
          shooting in planning meetings, retreats, and student-sponsored events


RESIDENT DIRECTOR
Lincoln Avenue Residence Halls, Office of Residential Life
University of Illinois at Urbana –Champaign
July 1992 – May 1995
     •    Coordinated all residential life operations for a residence hall of 500 undergraduate women
     •    Selected, supervised, evaluated, and provided weekly training for 8 RAs and 13 Office Clerks
          responsible for the operation of the service desk
     •    Supervised three graduate assistants responsible for night staff, centralized programs, and
          student accounts for an area of 1,500 residents
     •    Advised the Hall Council, Black Student Union, and hall-wide program committees
     •    Collaborated with students to envision, develop, and implement the LAR Women's Leadership
          Program, Women of Empowerment and Vision (WEAV)
     •    Advised three coordinators and 40 student volunteers who organized the fall move-in and
          planned New Student Week activities
     •    Developed curriculum and facilitated sessions for a 12-week RA Training Series and a 10-week
          First-Year Impact campus-wide orientation class
     •    Organized and implemented a campus-wide Careers in Student Affairs Expo


GRADUATE ASSISTANT COORDINATOR FOR ADMINISTRATIVE OPERATIONS
Cambridge Community, Department of Resident Life, University of Maryland, College Park
July 1991 – June 1992
     •    Selected, trained, and supervised two undergraduate Desk Coordinators who supervised
          30 Desk Receptionists responsible for staffing service desks for an area of 1,500 residents
     •    Coordinated opening check-in for five residence halls
     •    Initiated billings to student accounts for room and hall damages and lost keys


STUDENT LEADERSHIP PROGRAMS (Graduate Internship)
Office of Student Programs, Georgetown University, Washington, D.C.
Spring 1991
     •    Initiated the development of a new campus-wide student leadership program by designing and
          conducting focus groups with student leaders; analyzed data and presented the findings


ACADEMIC ADVISOR (Graduate Assistantship)
College of Journalism, University of Maryland, College Park
August 1989 – July 1991
     •    Advised journalism and pre-journalism students about college and university curricula,
          requirements, policies, administrative procedures, and career planning
     •    Developed and implemented college programming for Black History Month, Women's Heritage
          Month, and Careers Day
     •    Presented summer and fall academic orientation sessions to incoming students and parents


SUPERVISOR, PEER ADVISING PROGRAM
University College, University of Montana
August 1988 – June 1989
     •    Trained and supervised 16 undergraduate paraprofessional Peer Advisors who provided academic
          advising and support to 175 undecided students and 125 Business majors
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UNIVERSITY TEACHING EXPERIENCE

Graduate Classes – Master’s and Doctoral

EDCP 773 – Designing Qualitative Research in Counseling and Student Affairs Contexts
Instructor, 3-credit graduate course, majority doctoral students
Department of Counseling and Personnel Services, University of Maryland, Spring 2011
   •   Introduction to philosophical and epistemological foundations, methodologies and methods
       associated with qualitative research designs appropriate in higher education and counseling
       contexts

EDCP 772/798/799 – Master’s and Doctoral Research and Design Proposal Writing Seminar
Co-Instructor, 3-credit graduate course
Department of Counseling and Personnel Services, University of Maryland, Fall 2008
   •   Overview of educational research, components of a research proposal, qualitative and quantitative
       research methods and designs, ethical issues, practical considerations in carrying out research
       studies including securing IRB approval, use of data analysis software, and working with a graduate
       research advisor and committee

EDCP 615 – Individual and Organizational Assessment in Student Affairs
Co-Instructor, 3-credit graduate course
Department of Counseling and Personnel Services, University of Maryland, Spring 2001
   •   Rationale and importance of assessment in student affairs and higher education, individual and
       organizational assessment, quantitative methods, qualitative methods, instrumentation and design
       considerations, student satisfaction, outcomes and benchmarking, ethical issues

EDCP 789Z – Multicultural Practice in Student Affairs
Co-Instructor, 3-credit graduate course
Department of Counseling and Personnel Services, University of Maryland, Fall 2000
   •   Contemporary multicultural issues in higher education and student affairs professional practice


Undergraduate Classes

BSCV/BSOS 301 (Formerly 288C) – Leadership in a Multicultural Society
3-credit undergraduate course, required of sophomores in the CIVICUS Living and Learning Program
College of Behavioral and Social Sciences, University of Maryland
Co-Instructor: Fall 2000, 2001, 2003 – 2005 Instructor: Fall 2006 – 2011
   •   Contemporary dimensions of multicultural identity in the United States, perception and
       constructivism, balancing the needs and interests of small groups with large group common goals,
       equity vs. equality, empathy and identity group interactions, analysis of contemporary multicultural
       dilemmas, and constructive practices for successful leadership in a multicultural society

EDCP 318L – Adaptive Strategies for Multicultural Leadership and Dialogue
Instructor, 3-credit undergraduate course
Department of Counseling and Personnel Services, University of Maryland, Fall 2009 – 2011
   •   Adaptive strategies, concepts, insights, and practices that enable effective navigation of the
       complexity inherent in any multicultural community or society, major dimensions of multicultural
       identity in the United States, contemporary multicultural dilemmas and dynamics, the role and
       practice of constructive dialogue in creating positive interactions, opportunities for problem-solving
       and possibilities for achieving common ground
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EDCP 498/HONR 349K – Global Experience to Morocco
Co-Instructor, 1-credit undergraduate course
Department of Resident Life/College of Education in collaboration with the Honors Humanities Program
University of Maryland, Spring 2011
    •     Required class for students selected for the 2011 Global Experience – Morocco trip; study of
          Moroccan history, society, and culture and preparation of individual students and the group for a
          two-week international travel experience

EDCP 108J – Career Development and Decision-Making for Juniors and Seniors
Instructor, 1-credit undergraduate course
Department of Counseling and Personnel Services, University of Maryland, Fall 1991
    •     Assessment of career-related skills, interests, and work values, decision-making and goal setting,
          resume and cover letter preparation, and interviewing skills

EDCP 108D – Career Development and Decision-Making, First-Year and Sophomores
Instructor, 1-credit undergraduate course
Department of Counseling and Personnel Services, University of Maryland, Fall 1990 and Spring 1991
    •     Career-related self-assessment using the Myers-Briggs Type Indicator (MBTI), exploration of
          college majors, campus career resources, and opportunities for experiential learning



PUBLICATIONS

Voorhees, R. & Petkas, S. N. (2011). Peer educators in critical campus discourse. In L. B. Williams (Ed.),
     Emerging practices in peer education (pp. 77-86). New Directions for Student Services, No. 133.
     San Francisco: Jossey-Bass.

Voorhees, R. L. (2008). The impact of a peer multicultural dialogue leader training program on cognitive
     development of college students and overall learning: An evaluative case study. Unpublished
     doctoral dissertation, University of Maryland, College Park.

Voorhees, R. L. (1992). Perception of campus climate and self-esteem among female and male college
     students in non-traditional and traditional majors. Unpublished master’s thesis, University of
     Maryland, College Park.

Chapter Contribution:

Dungy, G. J. (2003). Organization and functions of student affairs. In S. R. Komives and D. B. Woodard
     & Associates (Eds.), Student services: A handbook for the profession (4th ed., pp. 339-357).
     San Francisco: Jossey-Bass.

Citations:

Maki, P. L. (2010). Assessing for learning (2nd ed.). Sterling, VA: Stylus.

        Appendix 7.1 (pp. 278-280): Student affairs assessment results for cognitive and diversity skills in
        the Resident Life Common Ground Peer Dialogue Leader Training Program (from Voorhees, 2008)

Mehta, N. (2010). Understanding student experiences and learning in the Common Ground Multicultural
     Dialogue Program: A case study. Unpublished master’s thesis, University of Maryland, College Park.
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SELECTED PRESENTATIONS & INVITED TRAINING SESSIONS

National Conference Presentations – Coordinating Presenter

Multicultural Professional Staff Development: Transforming Competency and Expanding Capacity
       Rhondie Voorhees & Steve Petkas (March, 2014)
       Half-day pre-conference workshop, NASPA Annual Conference, Baltimore, MD

An Innovative Vision for Student and Staff Multicultural Education (March, 2013)
       Rhondie Voorhees & Steve Petkas
       Full-day pre-conference workshop, NASPA Annual Conference, Orlando, FL

Creative Strategies for Student and Staff Multicultural Education (March 10, 2012)
        Rhondie Voorhees & Steve Petkas
        Full-day pre-conference workshop, NASPA Annual Conference, Phoenix, AZ

The Common Ground Program: Peer-Led Multicultural Dialogues (March 30, 2011)
       ACPA Annual Conference, Baltimore, MD

Creative Student and Staff Development: Techniques from Improvisational Theater (March 29, 2011)
        Rhondie Voorhees & Becca Barish, ACPA Annual Conference, Baltimore, MD

Global Experience: Qatar/Oman – Reflections on Planning and Student Learning (March 28, 2011)
        Rhondie Voorhees & Belle Vukovich Kenoyer, ACPA Annual Conference, Baltimore, MD

Rediscovering Undergraduate Multicultural Education (March 13, 2011)
       Rhondie Voorhees & Steve Petkas
       Half-day pre-conference workshop, NASPA Annual Conference, Philadelphia, PA

Student Learning from Multicultural Dialogue: Two Case Studies (March 13, 2011)
        Rhondie Voorhees & Nicole Mehta, NASPA Annual Conference, Philadelphia, PA

Peer Multicultural Dialogue Leaders’ Learning: A Case Study (March 10, 2010)
       NASPA Annual Conference, Chicago, IL
       * Selected for sponsorship by the Assessment, Evaluation, and Research Knowledge Community

The Common Ground Program: Peer-Led Multicultural Dialogues (March 9, 2010)
       Rhondie Voorhees, Steve Petkas & Nicole Mehta, NASPA Annual Conference, Chicago, IL
       * Selected for recording and inclusion in a conference highlights DVD


National Conference Presentations – Presenter

Creating a Healthy Multicultural Community: Department of Resident Life at the University of Maryland
       (June 17, 2008 & June 24, 2009) Kenyatta Crenshaw, Amy Martin, Tosh Patterson &
       Rhondie Voorhees, Presentations for the ACUHO-I Global Study Tour, University of Maryland

Research on Students and Leadership: Findings from Non-Student Affairs Literature (March, 1991)
       Susan Komives, Tony Chambers, Mary Cloos, Peter Eckel & Rhondie Voorhees
       ACPA National Conference, Atlanta, GA


Local Conference Presentations – Coordinating Presenter

The Common Ground Program: Citizen-Led Dialogues in the Multicultural Student Community
       (February 11, 2005) Rhondie Voorhees, Steve Petkas & Peer Dialogue Leaders
       Maryland Student Affairs Conference, University of Maryland, College Park
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Surviving the Chilly Climate: The Unique Issues of Being Female (February, 1991)
        Maryland High School Leadership Conference, College Park, MD


Selected Campus Remarks, Presentations, Trainings, and Dialogue Facilitations

Academic Misconduct – Overview of the UM Student Conduct Code (Numerous presentations, 2012-2018)
      International student orientations and various faculty/departmental groups, University of Montana

Law in Higher Education (Multiple years, 2014 – 2018) Invited guest speaker for graduate Law in Higher
       Education class, University of Montana

Graduate TA Workshops – UM Student Conduct Code & Student Conduct Issues (Numerous
      presentations, 2013-2018), University of Montana

The Tragic Shooting in Orlando (June, 2016) Invited speaker, University of Montana Lambda Alliance

Mortar Board Initiation (April 15, 2016) Invited speaker, University of Montana

Make it Happen: How to Achieve Gender Equality in Education (March 13, 2015)
        Invited keynote speaker, International Women’s Day, University of Montana

Title IX & Sexual Assault Policies and Procedures (November, 2014) Invited presentation to staff and
         administrators at Salish Kootenai College, Pablo, MT

UM Student Conduct Code & Procedures (October 15, 2014) Invited presentation by the
      Athletics Department to UM coaches, University of Montana

I Read Banned Books (April, 2014) Video project, Mansfield Library, University of Montana

Sexual Orientation and Gender Identity: Identifying Resources for the Campus Community –
        A Campus-Wide Diversity Symposium (November 6, 2013) University of Montana
        Day of Dialogue Panel and Administrative Luncheon

The Value of Student Leadership (April 24, 2013) Keynote speaker for Spring Student Leadership Awards
       Banquet, University of Montana

Processing the Day of Dialogue (November, 2012) Facilitated session to conclude the Day of Dialogue
        events, University of Montana

Sexual Assault Awareness (September, 2012) Invited presentation for Kappa Kappa Gamma sorority

Leadership and Community Involvement (September 8, 2012) Invited speech for the Balanced Man
       Scholarship Dinner, Sigma Phi Epsilon fraternity, University of Montana

Applications of the Common Ground Dialogue Model to College Teaching and Pedagogy
       (January 20, 2012) Invited half-day presentation and workshop for College Park Scholars Living
       and Learning Program faculty, staff, and administrators, University of Maryland

Decision-Making in Higher Education & Federal Legislative Processes (January 7, 2012)
        Invited panelist, South Campus Professional Staff Retreat, Department of Resident Life
        University of Maryland

Diversity Training for Presiding Officers (Multiple Sessions in November, 2006, 2007 & 2011)
        Invited training sessions for Presiding Officer classes, Office of Student Conduct
        University of Maryland

Case Study Methodology (Multiple sessions in October, 2008 – 2011) Invited research workshops for the
        Gemstone Living and Learning Program, University of Maryland
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Creating and Maintaining a Healthy Multicultural Community (Multiple sessions in May & August,
       2007 – 2011) South Campus RA training, Department of Resident Life, University of Maryland

Our Multicultural Philosophy, Multicultural Capacities, and Individual Identities
      (Multiple sessions in July, 2003 – 2011) Presented individually and with other staff members
      Department of Resident Life professional and graduate staff training, University of Maryland

Multicultural and Diversity Training (January 27, 2008, February 1, 2009 & January 31, 2011)
       Invited half-day workshops for Student Entertainment Events (SEE) retreats
       Student Government Association, University of Maryland

Multicultural Programs for RAs (September 15, 16 & 17, 2009) Invited presentations for
       South Campus RA in-services, Department of Resident Life, University of Maryland

Dialogue for Acquaintance and Problem-Solving (August 29, 2009) Invited half-day training session
       for the Student Government Association (SGA) summer retreat, University of Maryland

Facilitating Multicultural Conversations (August 24, 2009) Invited sessions for North Campus
         RA training, Department of Resident Life, University of Maryland

Process-Centered Multicultural Education (July 9, 2009) Rhondie Voorhees & Olan Garrett, Half-day
        workshop for professional staff retreat, Department of Resident Life, University of Maryland

Patsy T. Mink and Title IX (April 8, 2009) Presentation for the CIVICUS Living and Learning Program,
        University of Maryland

Multicultural Capacities in Our Work (July 17, 2008) Rhondie Voorhees & Kevin Pitts
       Workshop for professional staff retreat, Department of Resident Life, University of Maryland

Case Study Methodology (June 12, 2008) Invited presentation for EDPS 690, graduate research class
        University of Maryland

Housing Shortage and Diversity in the Residence Halls: A Conversation (April 25, 2008)
       Professional staff development session, Department of Resident Life, University of Maryland

Dialogue for Professional Staff: The Nyumburu Incident (September 14, 2007) Facilitated a dialogue for
       professional staff about a high-profile campus incident involving the discovery of an alleged noose
       outside the Nyumburu Cultural Center, Department of Resident Life, University of Maryland

Expanding Our Multicultural Capacities (August 9, 2007) Steve Petkas & Rhondie Voorhees
      Half-day workshop for Office of Student and Staff Development summer retreat
      Department of Resident Life, University of Maryland

Department of Resident Life Core Documents (June 11, 2007) Presentation and workshop for
      administrative professionals, Department of Resident Life, University of Maryland

Dialogue for Professional Staff: The Virginia Tech Tragedy (April 27, 2007) Facilitated a dialogue for
       professional and graduate staff about professional and personal reactions to the shootings at
       Virginia Tech, Department of Resident Life, University of Maryland

Engaging in More Effective Dialogue (July 31, 2006) Half-day invited training session for North Campus
       professional staff retreat, Department of Resident Life, University of Maryland

Dialogue for Professional Staff: The Leonardtown Incident (December 15, 2005) Facilitated a dialogue
       for professional and graduate staff about a high-profile campus event involving alleged police
       brutality toward students, Department of Resident Life, University of Maryland

Preparing for Student Affairs Conferences (February 8, 2005) Invited workshop for College Student
       Personnel graduate students, University of Maryland
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ADDITIONAL PROFESSIONAL ACTIVITIES & SERVICE

Division of Student Affairs Diversity Initiative
University of Maryland (Fall 2011 – June 2012)
     •    Member of a select group of staff members charged with working toward the goals of (a)
          expanding and enriching opportunities for students’ learning about diversity, (b) supporting
          division staff members in the development of multicultural capacities, and (c) establishing the
          division as a model for engagement and commitment to issues of equity
     •    Subcommittee charge: Gathering information about existing data collected in the division
          relating to student learning from multicultural programs and initiatives

Reviewer, Journal of College and University Student Housing
Association of College & University Housing Officers – International (ACUHO-I)
(Fall 2011 – June 2012)
     •    Review draft manuscripts of research studies and provide editorial and content feedback for
          articles under consideration for publication in a national journal

Multi-Institutional Study of Leadership (MSL) Maryland Working Group
University of Maryland (Fall 2010 – June 2012)
     •    Group is responsible for considering the multicultural implications of the campus data from the
          MSL, analyzing the data further to better understand campus-specific results, and conducting
          new and supplemental research where necessary

Program Reviewer, NASPA Annual Convention (Fall 2010 – June 2012)

Graduate Research Interaction Day (GRID) Judge
University of Maryland (Spring 2010 and 2011)

College Student Personnel Master’s Program Admissions Committee
College of Education, University of Maryland (Spring 2001 and 2002)

Research Assistant, Project for the U.S. Department of Justice
College of Education, University of Maryland (Summer/Fall 2000)
     •    Assisted two faculty members in reviewing the existing literature on K-12 education for the
          purpose of summarizing research studies that report on the educational, cognitive, and/or social
          effects of racially and ethnically diverse K-12 schools and classrooms
     •    Created and maintained a comprehensive database of findings

College Student Personnel Program 40th Anniversary Committee
College of Education, University of Maryland (1999 – 2000)

National Conference for College Women Student Leaders Planning Committee
Georgetown University, Washington, D.C. (1997 and 1998)
     •    Assisted in planning a large-scale national conference for college women student leaders

Program Review and Selection Committee
Standing Committee for Graduate Students and New Professionals, ACPA National Conference (1993)

Associate Supervisor for National Examinations, University of Maryland (1991 – 1992)
     •    Administered the GMAT, GRE, LSAT, MCAT, NTE, and TOEFL
     •    Monitored exams and reported infractions and violations
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Probation Counselor Intern, Missoula County Youth Court, Missoula, MT (1987 – 1989)
      •    Counseled adolescents on court probation
      •    Provided consultation for family members regarding methods of behavior modification
      •    Accompanied clients and family members to court hearings; visited clients in jail
      •    Tracked crime rings for investigators; developed and presented reports for administrators



PROFESSIONAL ASSOCIATIONS

Student Affairs Administrators in Higher Education (NASPA)
College Student Educators International (ACPA)
Association for Student Conduct Administration (ASCA)



HONORS & AWARDS

Associated Students of the University of Montana (ASUM) Barbara Hollman Administrator of the Year
Award (2014 – 2015); University of Maryland Department of Resident Life Employee of the Year Award
(2002); University of Illinois Outstanding Hall Council, 1991 (Advisor); University of Illinois Outstanding
Black Student Union, 1991 (Advisor); Omicron Delta Kappa (University of Maryland Graduate Chapter);
Mortar Board; University of Montana Honor Scholarship; Psi Chi (National Psychology Honor Society);
Phi Eta Sigma; Alpha Lambda Delta



COMPUTER & DATA ANALYSIS SKILLS

      •    Maxient – Conduct Manager
      •    Microsoft Office programs including Word, Outlook, PowerPoint, and Excel
      •    NVivo qualitative research and data analysis software
